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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 CHASE OLSEN, et al,                              )
                                                  )
                   Plaintiffs,                    )
                                                  )
           v.                                     ) Case No. 1:18-cv-00292-SPB
                                                  )
 J.W. DIDADO ELECTRIC, LLC,                       )
                                                  )
                   Defendant                      )

 KATHY A. FILKINS,                                )
                                                  )
                   Plaintiff,                     )
                                                  )
 v.                                               ) Docket No. 1:19-cv-00105-SPB
                                                  )
 HIGH LINE HELICOPTERS, LLC,,                     )
                                                  )
                   Defendant                      )

 AMBER KOON,                                      )
                                                  )
                   Plaintiff,                     )
                                                  )
 v.                                               ) Docket No. 1:19-cv-00106-SPB
                                                  )
 HIGH LINE HELICOPTERS, LLC,                      )
                                                  )
                   Defendant                      )

                      NOTICE OF TELEPHONIC STATUS CONFERENCE

        And now, this 24th day of January, 2022, a telephonic conference shall be held in Case
No. 1:18-cv-00292-SPB on Wednesday, January 26, 2022 at 10:00 A.M. EST. Counsel are
directed to join the telephonic conference by connecting to the invitation that will be forwarded
by email.



Dated: January 24, 2022                                      /s/Sean J. McLaughlin
                                                             Signature of Special Master
# 2314678.v1
